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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                 )         4:07CR3079
                                          )
                   Plaintiff,             )         MEMORANDUM
      v.                                  )         AND ORDER
                                          )
JOSE ROMO-CORRALES and                    )
FRANCISCO GALVAN-VALDEZ,                  )
                                          )
                   Defendant.             )


       This matter is before the court on a report and recommendation by Magistrate
Judge Piester (filing 71), recommending that the defendants’ motions to suppress
(filings 45, 57) be denied in all respects. The defendant Francisco Galvan-Valdez has
filed a statement of objections (filing 81) pursuant to NECrimR 57.3 and 28 U.S.C.
§ 636(b)(1), and the defendant Jose Romo-Carrales has filed an unopposed motion
for leave to join in those objections (filing 83). That motion will be granted.

       I have conducted a de novo review of the record. I find that inasmuch as the
magistrate judge has fully, carefully, and correctly found the facts and applied the
law, the magistrate judge’s report and recommendation should be adopted and the
defendants’ statement of objections and motions to suppress should be denied.

      Accordingly,

      IT IS ORDERED that:

      1.     the defendant Jose Romo-Carrales’ unopposed motion (filing 83) to join
             in the defendant Francisco Galvan-Valdez’s statement of objections is
             granted;
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    2.    the defendants’ statement of objections (filing 81) is denied;

    3.    the magistrate judge’s report and recommendation (filing 71) is adopted;
          and

    4.    the defendant’s motions to suppress (filings 45, 57) are denied in all
          respects.



    September 18, 2008.                     BY THE COURT:

                                            s/ Richard G. Kopf
                                            United States District Judge




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